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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :                                  10/20/2020
FAIR HOUSING JUSTICE CENTER,                              :
INC., JANE DOE and JOHN DOE,                              :
                                                          :
                                        Plaintiffs,       :               18-cv-3196 (VSB)
                                                          :
                      -against-                           :                    ORDER
                                                          :
ANDREW CUOMO et al.,                                      :
                                                          :
                                        Defendants. :
                                                          :
----------------------------------------------------------X

VERNON S. BRODERICK, United States District Judge:

        The Court is in receipt of Plaintiffs’ Motion to Substitute Party and accompanying

declaration and exhibits, (Docs. 225–27,) and Plaintiffs’ Motion to Seal, (Doc. 228.)

Accordingly, it is hereby:

        ORDERED that Defendants shall file a letter no later than October 28, 2020, stating

whether they oppose the motions.

SO ORDERED.

Dated: October 20, 2020
       New York, New York

                                                              ______________________
                                                              Vernon S. Broderick
                                                              United States District Judge
